




















COURT OF APPEALS

EIGHTH DISTRICT OF
TEXAS

EL PASO, TEXAS

&nbsp;

&nbsp;


 
  
  &nbsp;
  VISTA HILLS HEALTH CARE CENTER, L.P.,
  &nbsp;
  &nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant,
  &nbsp;
  v.
  &nbsp;
  ROBERT E. SIMMONS,
  &nbsp;
  &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
  Appellee.
  
  
  &nbsp;
  &nbsp; '
  &nbsp;&nbsp; &nbsp;
  &nbsp; '
  &nbsp;&nbsp; &nbsp;
  &nbsp; '
  &nbsp;&nbsp; &nbsp;
  &nbsp; '
  &nbsp;&nbsp; &nbsp;
  &nbsp; '
  &nbsp;&nbsp; &nbsp;
  &nbsp;'
  
  &nbsp;
  
  
  &nbsp;
  &nbsp;
  &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; No. 08-12-00197-CV
  &nbsp;
  Appeal from the
  &nbsp;
  327th
  District Court
  &nbsp;
  of El
  Paso County, Texas
  &nbsp;
  (TC# 2009-5414)
  &nbsp;
  
 


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; MEMORANDUM
OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Pending
before the Court is an agreed motion to dismiss Appellant’s appeal.&nbsp; Tex.
R. App. P. 42.1(a).&nbsp; The parties
represent to the Court that all matters involved in the appeal have been fully
and finally compromised and settled.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We have
considered the motion and conclude that the motion should be granted.&nbsp; We therefore dismiss the appeal.&nbsp; The
parties have agreed that costs are to be paid by the party incurring those
costs as set forth in the settlement agreement.&nbsp;
See Tex. R. App. P. 42.1(d).

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; GUADALUPE
RIVERA, Justice

October 31, 2012

&nbsp;

Before McClure, C.J., Rivera, J., and Antcliff, J.





